Case 1:21-mj-01603-JFR Document 1 Filed 10/27/21 Page 1 of 4




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  "MCVRVFSRVF /FX.FYJDP            +PIO'3PCCFOIBBS
                                       IO ' 3PCCFOIBBS 64.BHJTUSBUF+VEHF
                                                         64 .BHJTUSBUF +V
Case 1:21-mj-01603-JFR Document 1 Filed 10/27/21 Page 2 of 4
Case 1:21-mj-01603-JFR Document 1 Filed 10/27/21 Page 3 of 4
Case 1:21-mj-01603-JFR Document 1 Filed 10/27/21 Page 4 of 4
